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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA                                Criminal No.

 V.



 Warnie Oliver DE LOS SANTOS DIAZ,                       Violations:


                Defendant.                               21 U.S.C. § 846 - Conspiracy to Possess
                                                         with Intent to Distribute and to Distribute 40
                                                         Grams or More of Fentanyl


                                                         21 U.S.C. § 841 - Possession with Intent to
                                                         Distribute and Distribution of Fentanyl


                                                         21 U.S.C. §841 - Possession with Intent to
                                                         Distribute 40 Grams or More of Fentanyl

                                                         18 U.S.C. § 2 - Aiding and Abetting

                                                         21 U.S.C. § 853 - Drug Forfeiture
                                                         Allegation




                                        INDICTMENT


COUNT ONE:            (Title 21, United States Code, Section 846 - Conspiracy to Possess
                      with Intent to Distribute and to Distribute 40 Grams or More of
                      Fentanyl)

The Grand Jury charges that:

       Beginning no later than February 22, 2018 and continuing to on or about March 20, 2018,

at Lawrence, and elsewhere in the District of Massachusetts,

                             Wanne Oliver DE LOS SANTOS DIAZ,
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